        Case 1:17-cv-00883-CKK Document 66-1 Filed 10/01/19 Page 1 of 4



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 JOSEPH JOHNSON,

                Plaintiff,

 v.                                                       1:17-cv-00883-CKK

 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA, OWAIS AKHTAR,
 CAMERON REYNOLDS, A. WILLIS, Jr.,
 FRANCIS MARTELLO, & AMINA
 COFFEY,

                Defendants.


MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF THE DISTRICT
   OF COLUMBIA’S CONSENT MOTION TO SEAL DOCKET ENTRY 41-2

       Defendant the District of Columbia (“the District”), by and through undersigned counsel,

submits this Memorandum of Points and Authorities in its Motion to Seal docket entry 41-2, and

to file a redacted version of docket entry number 41-2.

                                  STATEMENT OF FACTS

       On November 13, 2018, Defendants filed a Motion for Summary Judgment [41]. This

Motion included paper exhibits [41-2]. Exhibit “G”, page 65 of 81, contains personal identifying

information in a Complainant/Witness Statement. The District now moves to seal docket entry

41-2 to protect the privacy of the witness. A redacted version of the Defendants’ paper exhibits

in support of their pending Motion for Summary Judgment, with the personally identifying

information redacted, is attached hereto as Attachment “A”.
        Case 1:17-cv-00883-CKK Document 66-1 Filed 10/01/19 Page 2 of 4



                                  STANDARD OF REVIEW

       Fed. R. Civ. P. 5.2(a) requires that dates of birth be redacted from documents filed on

the ECF docket. Additional information can be redacted from documents filed on the docket

by Court Order. Fed. R. Civ. P. 5.2(e)(1).

       LCvR 5.1(h) states in pertinent part, “Absent statutory authority, no case or document

may be sealed without an order from the Court.” Id. Therefore, to place an already-filed

document under seal, a party must seek a Court Order.




                                                2
        Case 1:17-cv-00883-CKK Document 66-1 Filed 10/01/19 Page 3 of 4



                                           ARGUMENT

                GOOD CAUSE EXISTS TO SEAL DOCKET ENTRY 41-2.

       On November 13, 2018, Defendants filed a Motion for Summary Judgment [41]. This

Motion included paper exhibits [41-2]. Exhibit “G”, page 65 of 81, contains personal identifying

information in a Complainant/Witness Statement. This personally identifying information

should have been redacted before filing. This personally identifying information should not be

visible on the public docket, and this document should therefore be placed under seal. In place

of the sealed docket entry 41-2, the redacted version of docket entry 41-2, attached hereto as

Attachment “A”, should be placed on the docket and identified as “Redacted Exhibits in Support

of Defendants’ Motion for Summary Judgment” [41].

       Fed. R. Civ. P. 5.2(a) states in pertinent part:

               REDACTED FILINGS. Unless the court orders otherwise, in an
               electronic or paper filing with the court that contains an individual’s
               social-security number, taxpayer-identification number, or birth
               date, the name of an individual known to be a minor, or a financial-
               account number, a party or nonparty making the filing may include
               only […] (2) the year of the individual’s birth[.]

Id.

Due to inadvertence, docket entry 41-2 includes the complete date of birth of a witness. The

document containing this data should be sealed, and a redacted version of the document should

be placed on the docket. LCvR 5.1(h) states in pertinent part, “Absent statutory authority, no

case or document may be sealed without an order from the Court.” Id. This Motion therefore

seeks a Court Order sealing docket entry 41-2.

       Fed. R. Civ. P. 5.2(e)(1) states that “additional information” may be ordered redacted for

“good cause.” Because the witness is a law enforcement officer, good cause exists to redact the

witness’s phone numbers and home address. This information is of no moment to the Motion for


                                                  3
        Case 1:17-cv-00883-CKK Document 66-1 Filed 10/01/19 Page 4 of 4



Summary Judgment, and it should not be accessible on a public docket. Redacting this

information will further the witness’s privacy and security interests. A redacted version of

Defendants’ paper exhibits in support of their pending Motion for Summary Judgment is

attached hereto as Attachment “A”.

       No party will be prejudiced by the entry of this Order. To the contrary, Plaintiff has

consented to the relief sought herein.

                                           CONCLUSION

       WHEREFORE, for the foregoing reasons, good cause exists to seal docket entry 41-2 and

to place a redacted version of same on the docket.

October 1, 2019                          Respectfully submitted,

                                         KARL A. RACINE
                                         Attorney General for the District of Columbia

                                         CHAD COPELAND
                                         Deputy Attorney General
                                         Civil Litigation Division

                                         /s/ Michael K. Addo
                                         MICHAEL K. ADDO [1008971]
                                         Chief, Civil Litigation Division Section IV

                                         /s/ Benjamin E. Bryant
                                         BENJAMIN E. BRYANT [1047632]
                                         Assistant Attorney General
                                         Civil Litigation Division Section IV
                                         441 Fourth Street, NW, Suite 630 South
                                         Washington, D.C. 20001
                                         202-724-6652 (phone)
                                         202-730-0624 (fax)
                                         benjamin.bryant@dc.gov

                                         Counsel for Defendants




                                                   4
